     Case 3:17-cv-00939-WHA Document 2553 Filed 01/29/18 Page 1 of 3



 1 [COUNSEL LISTED ON SIGNATURE PAGE]

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                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                              SAN FRANCISCO DIVISION

 WAYMO LLC,                               CASE NO. 3:17-cv-00939 WHA

             Plaintiff,                   JOINT SUBMISSION REGARDING THE
                                            JOINT STATEMENT OF THE CASE
       vs.
                                            Trial Date: February 5, 2018
 UBER TECHNOLOGIES, INC. ,
   OTTOMOTTO LLC,

             Defendants.
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                                                                   Case No. 3:17-cv-00939-WHA
                                              JOINT SUBMISSION RE JOINT STATEMENT OF THE CASE
      Case 3:17-cv-00939-WHA Document 2553 Filed 01/29/18 Page 2 of 3



 1         Pursuant to Paragraph 8 of the Court’s Guidelines for Trial and Final Pretrial Conference

 2 in Civil Jury Cases (last revised May 8, 2017), Plaintiff Waymo LLC and Defendants Uber

 3 Technologies, Inc. and Ottomotto LLC have conferred and agreed on the language of the Joint

 4 Statement of the Case, other than: (i) whether Waymo’s asserted trade secrets should be referred

 5 to as “claimed” trade secrets (Waymo’s proposal) or “alleged” trade secrets (Defendants’

 6 proposal) and (ii) the last paragraph of the statement. Attached as Exhibit A is Defendants’

 7 proposed version. Attached as Exhibit B is Waymo’s proposed version. The parties will provide

 8 the Court with Word versions of both attachments at the final pretrial conference.

 9

10 DATED: January 29, 2018                     QUINN EMANUEL URQUHART & SULLIVAN, LLP

11

12                                              By /s/ Charles K. Verhoeven
                                                   Charles K. Verhoeven
13

14                                                  Attorneys for Plaintiff
                                                    WAYMO LLC
15

16 DATED: January 29, 2018                     MORRISON & FOERSTER LLP
17

18                                              By /s/ Arturo J. González
                                                  Arturo J. González
19
                                                  Attorneys for Defendants
20                                                UBER TECHNOLOGIES, INC. and
21                                                OTTOMOTTO LLC

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                                                   -1-                        Case No. 3:17-cv-00939-WHA
                                                         JOINT SUBMISSION RE JOINT STATEMENT OF THE CASE
      Case 3:17-cv-00939-WHA Document 2553 Filed 01/29/18 Page 3 of 3



 1                             ATTESTATION OF E-FILED SIGNATURE
 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3 Joint Submission Regarding the Joint Statement of the Case. In compliance with Civil L.R. 5-

 4 1(i)(3), I hereby attest that Charles K. Verhoeven has concurred in this filing.

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     Dated: January 29, 2018                                        /s/ Arturo J. González
 6                                                                 ARTURO J. GONZÁLEZ

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                                                           JOINT SUBMISSION RE JOINT STATEMENT OF THE CASE
Case 3:17-cv-00939-WHA Document 2553-1 Filed 01/29/18 Page 1 of 4
     Case 3:17-cv-00939-WHA Document 2553-1 Filed 01/29/18 Page 2 of 4



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 and OTTOMOTTO LLC
                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION


 WAYMO LLC,                                 Case No. 3:17-cv-00939
               Plaintiff,                   DEFENDANTS’ STATEMENT OF THE
                                              CASE
         vs.
                                              Judge: The Honorable William Alsup
 UBER TECHNOLOGIES, INC. and
   OTTOMOTTO LLC,                             Trial Date: February 5, 2018

             Defendants.
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                                                                   Case No. 3:17-cv-00939-WHA
                                                            DEFENDANTS’ STATEMENT OF THE CASE
     Case 3:17-cv-00939-WHA Document 2553-1 Filed 01/29/18 Page 3 of 4



 1          Pursuant to Paragraph 8 of the Court’s Guidelines for Trial and Final Pretrial Conference

 2 in Civil Jury Cases (last revised May 8, 2017), Defendants Uber Technologies, Inc. and Ottomotto

 3 LLC provide the following joint statement of the case to be read to the jury during voir dire:

 4                                    STATEMENT OF THE CASE
 5          This is a case about trade secrets relating to self-driving car technology. The plaintiff, the

 6 entity that brought this case, is Waymo LLC. Waymo is a subsidiary of Google’s parent company,

 7 Alphabet Inc. During this trial, Waymo may sometimes be referred to as “Google,” and the self-

 8 driving car project at Google as “Project Chauffeur” or “Chauffeur.” The defendants in this case

 9 are Uber Technologies, Inc. and Ottomotto LLC. During this trial, Ottomotto may sometimes be

10 referred to as “Otto.”

11          Waymo asserts that it owns eight separate trade secrets relating to something called

12 LiDAR, which is technology that is used in some self-driving vehicles. Waymo accuses Uber and

13 Ottomotto of misappropriating those eight Waymo trade secrets. Waymo asserts that Uber and

14 Ottomotto’s misappropriation of its trade secrets damaged Waymo and caused Uber and

15 Ottomotto to be unjustly enriched. Waymo also claims that Uber and Ottomotto misappropriated

16 its trade secrets willfully and maliciously.

17          Uber and Ottomotto deny Waymo’s claims. Uber and Ottomotto deny that any of

18 Waymo’s alleged trade secrets are actual trade secrets. Uber and Ottomotto also deny that they

19 misappropriated any of the alleged trade secrets. Uber and Ottomotto further deny that Waymo

20 was damaged or that Uber or Ottomotto were unjustly enriched.

21          To be clear, the claims and defenses just described merely summarize the parties’

22 arguments—the parties themselves will explain their positions at trial and the evidence presented

23 will provide the facts.

24          To succeed on its claim for unjust enrichment based on alleged misappropriation of any

25 given Alleged Trade Secret, Waymo must prove all of the following:

26          [The following is taken directly from Instruction IV of the Court’s Penultimate Jury
27 Instructions (Dkt 2449 at 2-3)]

28          1.        That the Alleged Trade Secret qualified as an enforceable trade secret at the time
                                                      -1-                     Case No. 3:17-cv-00939-WHA
                                                                       DEFENDANTS’ STATEMENT OF THE CASE
     Case 3:17-cv-00939-WHA Document 2553-1 Filed 01/29/18 Page 4 of 4



 1                    it was allegedly misappropriated;

 2          2.        That the defendant improperly acquired, then used or disclosed

 3                    the Alleged Trade Secret;

 4          3.        That the defendant was thereby unjustly enriched; and

 5          4.        That such use or disclosure was a substantial factor in unjustly enriching the

 6                    defendant.

 7          No defendant may be held liable for a damage award as to any given Alleged Trade Secret

 8 unless all of these elements of proof are satisfied as to that defendant and as to that given Alleged

 9 Trade Secret. It is for you, the jury, to decide whether or not all of these elements have been

10 proven for all of the Alleged Trade Secrets, for some of them, or for none of them.

11          This is only a summary, you will be instructed on the specific questions you should

12 address at the end of the parties’ presentations.

13

14 Dated: January 29, 2018                        MORRISON & FOERSTER LLP
                                                  BOIES SCHILLER FLEXNER LLP
15                                                SUSMAN GODFREY LLP

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17                                                By: /s/ William Christopher Carmody___________
                                                      WILLIAM CHRISTOPHER CARMODY
18
                                                         Attorneys for Defendants
19                                                       UBER TECHNOLOGIES, INC. and
                                                         OTTOMOTTO LLC
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                                                       -2-                   Case No. 3:17-cv-00939-WHA
                                                                      DEFENDANTS’ STATEMENT OF THE CASE
Case 3:17-cv-00939-WHA Document 2553-2 Filed 01/29/18 Page 1 of 4
     Case 3:17-cv-00939-WHA Document 2553-2 Filed 01/29/18 Page 2 of 4



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  Attorneys for WAYMO LLC

                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION

 WAYMO LLC,                                CASE NO. 3:17-cv-00939

              Plaintiff,                   WAYMO’S STATEMENT OF THE CASE
        vs.                                Judge: The Honorable William Alsup
 UBER TECHNOLOGIES, INC. and               Trial Date: February 5, 2018
   OTTOMOTTO LLC,
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             Defendants.
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                                                                  Case No. 3:17-cv-00939-WHA
                                                               WAYMO’S STATEMENT OF THE CASE
     Case 3:17-cv-00939-WHA Document 2553-2 Filed 01/29/18 Page 3 of 4



 1          Pursuant to Paragraph 8 of the Court’s Guidelines for Trial and Final Pretrial Conference

 2 in Civil Jury Cases (last revised May 8, 2017), Plaintiff Waymo LLC provides the following

 3 statement of the case to be read to the jury during voir dire:

 4                                    STATEMENT OF THE CASE
 5          This is a case about trade secrets relating to self-driving car technology. The plaintiff, the

 6 entity that brought this case, is Waymo LLC. Waymo is a subsidiary of Google’s parent company,

 7 Alphabet Inc. During this trial, Waymo may sometimes be referred to as “Google,” and the self-

 8 driving car project at Google as “Project Chauffeur” or “Chauffeur.” The defendants in this case

 9 are Uber Technologies, Inc. and Ottomotto LLC. During this trial, Ottomotto may sometimes be

10 referred to as “Otto.”

11          Waymo asserts that it owns eight separate trade secrets relating to something called

12 LiDAR, which is technology that is used in some self-driving vehicles. Waymo accuses Uber and

13 Ottomotto of misappropriating those eight Waymo trade secrets. Waymo asserts that Uber and

14 Ottomotto’s misappropriation of its trade secrets damaged Waymo and caused Uber and

15 Ottomotto to be unjustly enriched. Waymo also claims that Uber and Ottomotto misappropriated

16 its trade secrets willfully and maliciously.

17          Uber and Ottomotto deny Waymo’s claims. Uber and Ottomotto deny that any of

18 Waymo’s claimed trade secrets are actual trade secrets. Uber and Ottomotto also deny that they

19 misappropriated any of the claimed trade secrets. Uber and Ottomotto further deny that Waymo

20 was damaged or that Uber or Ottomotto were unjustly enriched.

21          To be clear, the claims and defenses just described merely summarize the parties’

22 arguments—the parties themselves will explain their positions at trial and the evidence presented

23 will provide the facts.

24          [The following paragraph is patterned after the Court’s Statement of the Case read to
25 the jury during voir dire in Oracle America, Inc. v. Google Inc., Case No. 3:10-cv-03561-WHA.]

26          Your job at the end of this case will be to decide a number of questions regarding the

27 parties’ claims and defenses. First, you will decide whether Waymo’s claimed trade secrets are

28 enforceable and whether Uber and Ottomotto are liable for misappropriating those claimed trade
                                                      -1-                     Case No. 3:17-cv-00939-WHA
                                                                           WAYMO’S STATEMENT OF THE CASE
     Case 3:17-cv-00939-WHA Document 2553-2 Filed 01/29/18 Page 4 of 4



 1 secrets. Then, if you find Uber and/or Ottomotto liable for misappropriation, you will decide the

 2 damages that Waymo should be awarded and you will decide whether the misappropriation was

 3 willful and malicious. Again this is only a summary, you will be instructed on the specific

 4 questions you should address at the end of the parties’ presentations.

 5

 6 DATED: January 29, 2018                     QUINN EMANUEL URQUHART & SULLIVAN, LLP

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 8
                                                 By /s/ Charles K. Verhoeven
 9                                                  Charles K. Verhoeven
                                                    Attorneys for WAYMO LLC
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                                                                            WAYMO’S STATEMENT OF THE CASE
